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   IT IS ORDERED as set forth below:



   Date: January 14, 2020
                                                                  _________________________________

                                                                             Paul W. Bonapfel
                                                                       U.S. Bankruptcy Court Judge
 _______________________________________________________________

                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                      ROME DIVISION

IN RE:                                                )        CHAPTER 13
                                                      )
SHEENEQUA MACK                                        )        CASE NO. 19-41032-PWB
                           DEBTOR.                    )
---------------------------------------------------------------------------------------------------
                                                      )
SPECIALIZED LOAN SERVICING LLC )
AS SERVICING AGENT FOR WELLS                          )
FARGO BANK, NATIONAL                                  )
ASSOCIATION, SUCCESSOR BY                             )
MERGER TO WELLS FARGO BANK,                           )
MINNESOTA, NATIONAL                                   )
ASSOCIATION, AS TRUSTEE FOR                           )
REPERFORMING LOAN REMIC TRUST )
CERTIFICATES, SERIES 2006-R1                          )
                           MOVANT,                    )
                                                      )        CONTESTED MATTER
V.                                                    )
                                                      )
SHEENEQUA MACK,                                       )
MARY IDA TOWNSON, TRUSTEE                             )
                           RESPONDENTS.               )
____________________________________)

                                             CONSENT ORDER
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       This matter arose upon the motion of Specialized Loan Servicing LLC as servicing agent
for Wells Fargo Bank, National Association, successor by merger to Wells Fargo Bank,
Minnesota, National Association, as Trustee for Reperforming Loan REMIC Trust Certificates,
Series 2006-R1 (Movant”), filed September 25, 2019 (Doc. No. 24) to modify the stay of 11
U.S.C. §362(a) to allow Movant to foreclose on Debtor’s real property known as 1666
Woodlawn Rd., Chatsworth, GA 30705 (“Property”). The motion is scheduled for hearing
December 10, 2019 and notice was provided to Debtor, Debtor’s attorney and Trustee.
       Movant and Debtor acknowledge and agree that no significant equity exists in the
Property.
       Based on the foregoing agreement, Debtor and Movant consent to the terms hereof;
accordingly, it is hereby
       ORDERED that (1) Debtor shall mail all payments to Movant as follows:
                                  Specialized Loan Servicing LLC
                                          P.O. Box 636007
                                     Littleton, Colorado 80163
(2) Debtor also agrees to pay all hazard insurance premiums for which Movant does not maintain
an escrow account when the same become due. It is further
       ORDERED that in the event the debtor fails to comply with the terms of this order, the
movant, through its attorney of record, may file an affidavit establishing the default, served upon
the debtor and debtor's attorney. Upon the expiration of fourteen (14) days without the filing of a
counter-affidavit by the debtor disputing the fact of default, an order may be entered lifting the
automatic stay without further motion or hearing. The strict compliance provision of this Order
shall expire on June 1, 2020. It is further
       ORDERED that upon entry of a default order modifying the stay as to the Property, if
any proceeds remain from the foreclosure sale after application to Movant’s lawful indebtedness,
fees and foreclosure costs, Movant or its counsel shall promptly forward such excess proceeds to
the Trustee that would otherwise be payable to the debtor while the debtor remains in
bankruptcy. It is further
       ORDERED that in the event the stay is lifted, the Trustee shall cease funding Movant’s
claim in the instant bankruptcy case until further notice from this Court. It is further
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        ORDERED that the Clerk of Court shall serve this Order to the parties set forth on the
distribution list attached hereto.
                                     [END OF DOCUMENT]

                                 (signatures continued on next page)

Prepared and Presented by:

/s/Chad R. Simon
Chad R. Simon, Attorney for Movant
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Post Office Box 80727
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Consented to by:

/s/ Dan Saeger by Chad Simon with express permission
Dan Saeger
Georgia Bar No. 680628
Dan Saeger
Saeger & Associates, LLC
Suite D
706 S Thornton Ave
Dalton, GA 30720

No opposition by:

/s/ Brandi L. Kirkland by Chad Simon with express permission
Brandi L. Kirkland
Georgia Bar No. 423627
Brandi L. Kirkland
Mary Ida Townson, Ch. 13 Trustee
Suite 1600
285 Peachtree Center Ave, NE
Atlanta, GA 30303
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                                 DISTRIBUTION LIST

Sheenequa Mack
1666 Woodlawn Rd
Chatsworth, GA 30705-5917

Dan Saeger
Saeger & Associates, LLC
Suite D
706 S Thornton Ave
Dalton, GA 30720

Trustee
Mary Ida Townson
Chapter 13 Trustee
Suite 1600
285 Peachtree Center Ave, NE
Atlanta, GA 30303
